                Town   Population        White
                                                 CaseBlack1:11-cv-00559-WMS
                                                               AmIndian Asian
                                                                                  Document
                                                                              Hawaiian Other
                                                                                             19-39
                                                                                               Hispanic
                                                                                                        Filed       07/26/11
                                                                                                         Population 18+ White 18+
                                                                                                                                  Page
                                                                                                                                   Black 18+
                                                                                                                                             1 of   1
                                                                                                                                               % Black 18+      Hispanic 18+        % Hispanic 18+   % Combined
1
     EDEN                      7688              7534       32         23        19         2         35        136      5962       5878        22                             86
     EVANS                    16356          15762         115        202        34         5         36        299     12905      12561        76                        195
     HAMBURG                  56936          55242         433        179       325         6        225       1214     44186      43153       298                        719
                             80,980          78,538        580        404       378        13        296       1,649    63,053    61,592       396      0.63%            1,000               1.59%          2.21%
2
     BUFFALO*                 37970          31906         3106       293       397        13       1279       3881     30705      26316      2473                       2532
     LACKAWANNA               18141          15215         1790        57       121         7        364       1283     14162      12309      1204                        832
     ORCHARD PK               29054          28095         211         63       372         6         72        465     22179      21589       152                        279
                             85,165          75,216       5,107       413       890        26       1,715      5,629    67,046    60,214      3,829     5.71%            3,643               5.43%         11.14%
3
     ALDEN                    10865              9433      1164        33        45         0        125        285      8998       7645      1136                        253
     AURORA                   13782          13500          41         10        83         2         32        143     10636      10487        24                             73
     BOSTON                    8023              7894       10         19        25         2         21         78      6224       6149        10                             50
     BRANT                     2065              1915       20         95         1         0          6         57      1604       1502        17                             32
     CATT RES**                1833              150         2       1609         7         0          1         65      1258       121          2                             25
     COLDEN                    3265              3220        3          8        14         2          2         17      2547       2525         2                             12
     COLLINS                   6601              5013      1127       190        15         0        184        457      5701       4211      1115                        418
     CONCORD                   8494              8268       55         42        36         1         14        151      6538       6409        36                             99
     HOLLAND                   3401              3329       16         14         8         0          3         38      2646       2600        12                             26
     MARILLA                   5327              5252       13         11        19         0          4         33      4141       4103         9                             17
     N. COLLINS                3523              3398       11         46         0         0         14         82      2698       2617        11                             43
     NEWSTEAD                  8594              8340       42         86        34         3         14         85      6763       6599        31                             48
     SARDINIA                  2775              2716        6         13        18         0          3         17      2193       2154         5                             6
     TON RES**                      34             0         0         34         0         0          0          0        18         0          0                             0
     WALES                     3005              2924       16         15        11         1          5         32      2359       2317        10                             18
                             81,587          75,352       2,526      2,225      316        11        428       1,540    64,324    59,439      2,420     3.76%            1,120               1.74%          5.50%
4
     BUFFALO*                 27478          21948         3674       204       332        10        583       2063     21073      17624      2397                       1190
     ELMA                     11317          11192          19         13        32         5         15         72      8946       8874        14                             47
     W. SENECA                44711          43472         383         96       280         4        130        751     35872      35042       287                        446
                             83,506          76,612       4,076       313       644        19        728       2,886    65,891    61,540      2,698     4.09%            1,683               2.55%          6.65%
5
     AMHERST*                 12309          10218         537         19      1248         9         71        283      9810       8363       400                        172
     CHEEKTOWAGA              71936          65170         4036       179      1161        12        347       1425     58877      54377      2814                        834
                             84,245          75,388       4,573       198      2,409       21        418       1,708    68,687    62,740      3,214     4.68%            1,006               1.46%          6.14%
6
     AMHERST*                  3197              2783       72          2       281         0          2         61      2400       2104        51                             34
     CHEEKTOWAGA               9530              9172      137         20        70         1         22        159      7796       7559        99                             95
     CLARENCE                 30673          28785         350         31      1093         6         68        418     22557      21359       252                        235
     LANCASTER                41604          40365         407         85       248         0        111        588     32106      31323       304                        335
                             85,004          81,105        966        138      1,692        7        203       1,226    64,859    62,345       706      1.09%             699                1.08%          2.17%
7
     AMHERST*                 70478          58931         4367       118      5372        14        407       1723     58141      49020      3274                       1216
     BUFFALO*                 13057              8970      1988        60      1469         9        167        577     11236       7812      1571                        423
                             83,535          67,901       6,355       178      6,841       23        574       2,300    69,377    56,832      4,845     6.98%            1,639               2.36%          9.35%
8
     BUFFALO*                 84838          32911        37331       975      4001        58       6452      15731     62927      27239     26807                       9628
                             84,838          32,911      37,331       975      4,001       58       6,452     15,731    62,927    27,239     26,807    42.60%            9,628              15.30%         57.90%
9
     BUFFALO*                 76576          20520        50868       306      1870        22        923       3105     56800      18210     35236                       2038
     CHEEKTOWAGA               6760              3427      2896        24       105         1         90        316      5101       2836      1998                        183
                             83,336          23,947      53,764       330      1,975       23       1,013      3,421    61,901    21,046     37,234    60.15%            2,221               3.59%         63.74%
10
     AMHERST*                 36382          30626         2033        81      2774         3        186        803     27781      23799      1361                        475
     C-TON                    15130          14619         138         71        89         3         54        310     12212      11872        96                        187
     GRAND IS                 20374          19069         441         99       459         3         84        363     15673      14750       339                        246
     T-TON                    11317          10632         229         35       266         0         36        194      9509       8991       186                        138
                             83,203          74,946       2,841       286      3,588        9        360       1,670    65,175    59,412      1,982     3.04%            1,046               1.60%          4.65%
11
     BUFFALO*                 21391          15498         3807       171       340         7        843       2162     16993      13118      2639                       1301
     T-TON                    62250          57830         2005       277       715         2        397       1809     49863      47055      1376                       1030
                             83,641          73,328       5,812       448      1,055        9       1,240      3,971    66,856    60,173      4,015     6.01%            2,331               3.49%          9.49%
